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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


                                                                 DOCKET NO. 16-cv-11865-GAO


FRANCISCO BAEZ,
                 Plaintiff
v.
THE CITY OF BROCKTON POLICE
DEPARTMENT; GEORGE KHOURY;
EMANUEL GOMES; and
WAYNE SARGO,

                 Defendants


      THE PLAINTIFF’S MEMORANDUM IN OPPOSITION TO THE DEFENDANTS’
                 MOTION FOR JUDGMENT ON THE PLEADINGS

          The defendants have moved for a judgment on the pleadings, the plaintiff hereby opposes

the defendants’ motion.

     I.   STANDARD OF REVIEW


          The plaintiff agrees with the defendants’ statement of the standard for review.
The standard of review of a motion for judgment on the pleadings under Federal Rule of Civil

Procedure 12(c) [**6] is the same as that for a motion to dismiss under Rule

12(b)(6). Pasdon v. City of Peabody, 417 F.3d 225, 226 (1st Cir. 2005); Collier v. City of

Chicopee, 158 F.3d 601, 602 (1st Cir. 1998). The Court's decision when considering a motion to

dismiss must take as true the well-pleaded facts in the complaint and draw all reasonable

inferences in favor of the plaintiff. Vistamar, Inc. v. Fagundo-Fagundo, 430 F.3d 66, 69 (1st Cir.

2005). As argued below, while the defendants state the general standard for considering a motion
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for judgment on the pleadings, the defendants’ analysis and the cases cited to support their

analysis are predominantly summary judgment cases, and therefore not applicable to the courts

consideration of this motion.

 II.   STATEMENT OF FACTS

       The Plaintiff is a Black Hispanic male whose parents were born in the Dominican

Republic. The Plaintiff began working as a police officer for the Department in 1996.

During the Plaintiff’s employment with the Department, he was the only employee of the

Department of Dominican Republic ancestry. During the time that the Plaintiff worked with

Sergeant Khoury, Sergeant Khoury referred to black people as “niggers” and to Hispanic people

as “spics”. Sergeant Khoury also referred to white women who dated black men as “white trash

nigger lovers”.

       On September 13, 2013, the Plaintiff was in the booking area along with a number of

other officers, including Sergeant Khoury. The Plaintiff walked by Sergeant Khoury but never,

pushed him, nudged him, or touched him in any way.

       On September 15, 2013 Sergeant Khoury wrote a report to Chief Gomes about the

Plaintiff. In that report, despite the fact that the Plaintiff did not touch Sergeant Khoury, Sergeant

Khoury reported to Chief Gomes that, on September 13, 2013, sometime after 1600 hours, in the

booking room, the Plaintiff bumped into him and was discourteous to him. Sergeant Khoury

referred to the conduct of the Plaintiff as an assault on him by the Plaintiff. In Sergeant

Khoury’s September 15, 2013 report to Chief Gomes, Sergeant Khoury also alleged that on the

same day, September 13, 2013, that the Plaintiff passed him in the hallway leading to the cell

area and bumped him as he passed. This allegation was also a complete fabrication. Sergeant
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Khoury’s false allegation was made because he had animus towards the Plaintiff on account of

the Plaintiff’s race, national origin, and/or ethnicity.

        Neither Chief Gomes nor Captain Sargo informed the Plaintiff of the allegations against

him. Captain Sargo sent the Plaintiff a memo dated September 17, 2013. In the memo, Captain

Sargo asked the Plaintiff to state, in writing, what duties he was performing on September 13,

2013 regarding the “Neighborhood Surge” and to describe in detail any interaction with Sergeant

Khoury. The Plaintiff responded to Captain Sargo that on September 13, 2013 he had no

interaction with Sergeant Khoury. On December 10, 2013, as a result of the false allegation made

by Sergeant Khoury, the Plaintiff received a written disciplinary action issued by Captain Sargo.

In the letter of reprimand Captain Sargo stated: “Sergeant Khoury related that you did willfully

bump him twice in the booking area and while he was involved with a ‘Neighborhood Surge’

operation.” Captain Sargo reprimanded the Plaintiff for conduct unbecoming of an officer

and for insubordination.

        At the time Captain Sargo issued the written reprimand to the Plaintiff, Captain Sargo

was aware that the booking area, where the alleged incident took place, was monitored by a

camera that video recorded the area. Captain Sargo viewed the tape of the booking area for the

time that Sergeant Khoury claimed he was assaulted by the Plaintiff before he issued a letter of

reprimand.

Captain Sargo issued a written reprimand to the Plaintiff despite the fact that Captain Sargo had

access to and viewed a video of the booking area showing that at the time Sergeant Khoury

claimed that he was bumped by the Plaintiff, he was not touched by the Plaintiff or by anyone

else. At the time Captain Sargo issued the letter of reprimand to the Plaintiff, Captain Sargo was
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aware that the tape recording of the booking area showed that the Plaintiff did not bump Sergeant

Khoury and that Sergeant Khoury’s report was either wrong or a complete fabrication.

       Captain Sargo never informed the Plaintiff of the allegations against him before he issued

the Plaintiff a disciplinary letter of reprimand and thus, never gave the Plaintiff an opportunity to

respond to the allegations made by Sergeant Khoury before issuing a disciplinary reprimand to

the Plaintiff. The decision by Captain Sargo to discipline the Plaintiff in spite of the fact that he

had in his possession a video clearly demonstrating that Sergeant Khoury was engaged in a total

fabrication was an account of discrimination, racial, national origin, and ethnic animus on the

part of Captain Sargo against the Plaintiff and/or because he was condoning and acting on the

prejudice and/or discriminatory animus of Sergeant Khoury.

       On or about December 10, 2013, the Plaintiff appealed his written disciplinary reprimand

to Chief Gomes. Chief Gomes knew that the area where the alleged assault of Sergeant Khoury

occurred was an area in the booking room monitored by a camera that recorded the activity in the

area. Before he issued a denial of the Plaintiff’s appeal of his written disciplinary reprimand,

Chief Gomes had access to the video recording of the booking room at the date and time of the

alleged assault of Sergeant Khoury by the Plaintiff. Chief Gomes upheld the written reprimand

of the Plaintiff despite the fact that he had in his possession and viewed a video clearly

demonstrating that Sergeant Khoury had engaged in a total fabrication when he alleged that the

Plaintiff had assaulted him. It is alleged in the complaint that the decision of then Chief Gomes

to uphold the written reprimand of the Plaintiff was on account of racial, national origin, and

ethnic bias and animus on the part of Chief Gomes and because he was conditioning and acting

on the prejudice and discriminatory animus of Sergeant Khoury
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       In an attempt to defend the Plaintiff, his union asked the Department to produce the video

of the booking area on the date in question. The union was told by the Department that no such

tape existed. This was a lie; in fact, a copy of the video of the booking room, on the day in

question, had been made and preserved by the Department. On or about January 13, 2014, the

Plaintiff made a written request for his personnel records. In February 2014, the Plaintiff

received his personnel records and in the records was a video of the booking area for the date of

September 13, 2013. The video of the booking area for the date of September 13, 2013 showed

that the Plaintiff had no body contact with Sergeant Khoury and that Sergeant Khoury’s

allegations that the Plaintiff had assaulted him were a total fabrication. The Plaintiff filed a

grievance of the decision of Chief Gomes upholding his written reprimand. A hearing was held

before the City of Brockton Director of Personnel Maureen Cruise (“Director Cruise”). At the

hearing before Director Cruise, the recording of the booking area for September 13, 2013 was

available and was shown. The recording showed that the Plaintiff never bumped Sergeant

Khoury and was evidence that Sergeant Khoury had fabricated his story which led to the Plaintiff

being issued a written disciplinary reprimand. Despite the clear evidence that Sergeant Khoury

had fabricated his allegation that he had been assaulted by the Plaintiff, Director Cruise upheld

the written reprimand of the Plaintiff.

       The Plaintiff’s union appealed then Director Cruise’s decision upholding the written

reprimand of the Plaintiff to an independent arbitrator, as was the union’s right under the existing

collective bargaining agreement. On or about September 3, 2014, after the Plaintiff’s union

appealed the written reprimand to an independent arbitrator, the City of Brockton entered into an

agreement whereby the City of Brockton agreed to remove the Plaintiff’s written reprimand from

the Plaintiff’s personnel records and to rescind the discipline issued to the Plaintiff.
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       On September 24, 2014, the Plaintiff filed a complaint with Lieutenant William Hallisey,

who was, at the time, in charge of the Internal Affairs Division of the Department. In the

complaint, the Plaintiff asked that a formal investigation be conducted concerning the lies and

fabrications of Sergeant Khoury that he had been assaulted by the Plaintiff, in the booking area,

on the day of September 13, 2013. In the same complaint, the Plaintiff requested that Captain

Sargo and now former Chief Gomes also be investigated. The plaintiff was never informed that

either Sergeant Khoury, Captain Sargo, or former Chief Gomes were ever disciplined as a result

of the fabricated charges made against the Plaintiff, and the plaintiff does not believe they were

disciplined.

       The Plaintiff was emotionally pained because he was concerned that a reprimand in his

file for allegedly assaulting a superior officer would mean that the Plaintiff would never be

promoted. The fabricated charges made by Sergeant Khoury, the failure to investigate those

charges, and the upholding of those charges cause the Plaintiff severe mental pain and suffering

due to the fact that the Plaintiff was extremely fearful that he was being set up for termination by

and from the Department. The Plaintiff was extremely upset and concerned that if he was

terminated from the Department that he would never work as a police officer again and that he

would not be able to support his family.



III.   ARGUMENT

               The defendants concede that the plaintiff has sufficiently pled the first two prongs

of a prima facia case of discrimination: 1) that the plaintiff was a member of a protected class

and 2) that he was qualified for the job he held. The defendants argue that the plaintiff’s case

must be dismissed because, as a matter of law, he has not sufficiently pled the third prong of his
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prima facia case, in that he suffered an adverse employment action. The defendants argue that

the fact that the plaintiff was accused of perpetrating an assault on a superior officer, and

received a written reprimand for insubordination and for conduct unbecoming of an officer was

not an adverse job action.

        When determining the sufficiency of a complaint for the purpose of a motion to dismiss,

or in this case, a motion for a judgment on the pleadings, the court must accept all well-plead

factual averments as true, and draw all reasonable inferences in the Plaintiff's favor, even if

doubtful in fact. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007); Ashcroft v. Iqbal, 129 S. Ct. 1937

(2009). Rather than analyzing and citing cases decided under 12 b (6), the defendant has incorrectly cited

and relied on summary judgment cases and a summary judgment based argument. The defendants’ motion

should not be considered through a summary judgment analysis prism.

                The defendants rely on the case of Bhatti v Trustees of Boston University, 659

F.3d 64 (1st Cir. 2011) for the principal that a written reprimand cannot be an adverse job action.

The defendants fail to acknowledge that the Court in, Bhatti, stated that a written reprimand may

constitute an adverse job action. Id. at 73. In the case of Billings v. Town of Grafton, 515 F.3d

39, 44 (1st Cir. 2008), the Court stated that reprimanding the plaintiff was an adverse job action

that gave rise to a claim of retaliation.

        The test is an objective test and “should be judged from the perspective of a reasonable

person in the plaintiff's position, considering all the circumstances.'" Lockridge v. Univ. of Me.

Sys., 597 F.3d 464, 472 (1st Cir. 2010). The plaintiff alleges, in his complaint, (Par. 41 and 42)

that he was emotionally pained and concerned that the reprimand placed in his file for allegedly

assaulting a superior officer would mean he would never be promoted and was extremely fearful

that he was being set up for termination.
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        The defendants cite the case of Powell v. Yellow Book USA, Inc., 445 F.3d 1074 (8th

Cir. 2006), a decision that has been criticized by other courts such as, Kirby v. Donahoe, 2015

U.S. Dist. LEXIS 89559 (2015) U.S. District Court for the District of Minnesota. In Kirby, the

court found that a reprimand may constitute an adverse job action if it may hinder career

advancement. Id. at 35. In the present case, the plaintiff alleges that he was concerned that his

career would be over. When a police officer is accused and then formally reprimanded for

assaulting his superior officer it is a black mark on the officer’s career that can never be erased.

In a para-military organization such as a police department, a reprimand for assaulting a superior

officer will inevitably cause the plaintiff to be unable to be promoted. The fact that the written

reprimand was removed after appealing the written reprimand through three levels of the Union

grievance procedure does not negate the fact that the plaintiff suffered the psychological

consequences of the reprimand during the time his grievance was being heard; all while under

anxiety that he was being set up and that his career would be over.

        The analysis of what constitutes an adverse job action under M.G.L.A. 151B is similar to

the analysis of the Federal Courts but not identical because the Massachusetts courts have

consistently held that 151B is a remedial statute and therefore must be liberally construed. Green

v. Wyman-Gordon Co., 422 Mass. 551, 554 (1996).

        Under Massachusetts law, lower evaluation scores may be an adverse action. Ritchie v.

Dep’t of State Police, 60 Mass. App. Ct. 655 (2004). A threat to terminate may be an adverse

action. Bain v. City of Springfield, 424 Mass. 758, 765 (1997).

        Retaliation is “materially adverse” if it “well might have dissuaded a reasonable worker from

making or supporting a charge of discrimination.” Burlington Northern and Santa Fe Ry. Co. v. White, 126

S. Ct. 2405, 2412 (2006) (Title VII); Ngassa v. Ocean State Job Lot Stores of SE, 2010 Mass. Super. Lexis
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32, at 7 (c. 151B); Farricy v. Suffolk County Sheriff’s Dept., 2000 Mass. Comm. Discrim. Lexis 47, at 11

(action with “chilling effect” is adverse). Transfers may also be adverse actions. In College-Town v.

MCAD, 400 Mass. 156 (1987), cases have extended coverage of c. 151B “to slights or indignities that

might seem evanescent.” King v. Boston, 71 Mass. App. 460, 470 (2008). For example, the circumstances

of a lay off, in which there is a lack of notice and where employees are escorted out of the building, are by

themselves an adverse action. Coney v. Trustees of Health & Hospitals of the City of Boston, Inc., 2000

Mass. Comm. Discrim. Lexis 92, at 21, affirmed, 65 Mass. App. 329, 334 & n.5 (2005), affirmed 449 Mass.

675 (2007). Thomas v. Suffolk County Sheriff’s Dept., 1998 Mass. Comm. Discrim. Lexis 95, 14, 21-22

(1998) (lateral transfer found to be adverse, even in the absence of loss or pay rank, or disadvantageous shift

change, where there was unusually short notice, and disparaging comments uttered at the time of transfer),

reversed with respect to dismissal of co-complainant’s case, sub nom., Farricy v. Suffolk County Sheriff’s

Dept., 2000 Mass. Comm. Discrim. Lexis 47 (even threat of transfer is an adverse action).



IV.     CONCLUSION

        For all the reasons stated above the plaintiff moves this court to deny the defendants’ motion for

judgment on the pleadings.



                                                   The Plaintiff
                                                   By his Attorney,
                                                   /s/ Kevin G. Powers
                                                   ______________________________
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                                  CERTIFICATE OF SERVICE

I, Kevin G. Powers, hereby certify that on this 12th day of July 2016, a true copy of the foregoing was
 served by mail, upon Stephen C. Pfaff, Esq., Louison, Costello, Condon & Pfaff, LLP., 101 Summer
                                      Street, Boston, MA 02110.


                                               /s/ Kevin G. Powers
                                               ______________________________
                                               Kevin G. Powers
